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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                  :
In re:                            :
                                  :   Case No. 17-22218 (RDD)
RS OLD MILL, LLC,                 :
                                  :   Chapter 11
                  Debtor.         :
                                  :
                                  :
                                  :
RS OLD MILL, LLC,                 :
                                  :   Adversary No. 19-8243 (RDD)
                  Plaintiff,      :
                                  :   Hearing Date: May 24, 2019, 10:00 a.m.
           - against -            :
                                  :
SUFFERN PARTNERS LLC,             :
BRIDGEWATER CAPITAL PARTNERS      :
LLC, ISAAC GENUTH, MARK YUNGER :
a/k/a “MARK JUNGER,” GOLDIE       :
REISMAN, MOSES REICHMAN, RS OLD :
MILLS RD LLC., DAVID              :
FLEISCHMANN, THOMAS               :
LANDRIGAN, and CPIF LENDING, LLC, :
                                  :
                  Defendants.     :
                                  :

        SUFFERN PARTNERS LLC’S CONSOLIDATED OBJECTION TO
    DEBTOR’S APPLICATIONS TO RETAIN (A) LEVINE & ASSOCIATES, P.C.
     AS “SPECIAL LITIGATION COUNSEL” AND (B) GOLDBERG WEPRIN
    FINKEL GOLDSTEIN LLP AS “SUBSTITUTE BANKRUPTCY COUNSEL”
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TO THE HONORABLE ROBERT D. DRAIN,
UNITED STATES BANKRUPTCY JUDGE:

        Suffern Partners LLC (“Suffern”), an interested party in the captioned Chapter 11

proceeding involving RS Old Mill, LLC (“Debtor”) and a defendant in the proposed

adversary proceeding, by its undersigned counsel, Hahn & Hessen LLP, respectfully submits

this consolidated objection to Debtor’s applications for authorization to retain (a) Levine &

Associates, P.C. (the “Levine Firm”) as “special litigation counsel” and (b) Goldberg

Weprin Finkel Goldstein LLP (the “GWFG Firm”) as “substitute bankruptcy counsel.”1

                         OVERVIEW OF SUFFERN’S OBJECTIONS

        1.      Debtor’s principal, Yehuda Salamon, and his “consultant” Marty Stern,

are misusing RS Old Mill, LLC’s status as a Debtor and the Bankruptcy Court’s protections,

processes, and resources to further their own personal interests.

        2.      Suffern – under new owners since only March 25, 2019 – has pieced together

the facts in an effort to discern why and how there is allegedly a cloud on title to the

Premises that Suffern purchased from Debtor some 18 months ago. Three very troubling

facts are now clear. First, Mr. Salamon and Mr. Stern orchestrated the allegedly “dubious

transactions” and “unauthorized transfer of the Debtor’s property” in 2017 that they now

demand be unwound by the proposed Adversary Proceeding. Second, the Levine Firm that

is now requesting to be appointed as Debtor’s “special litigation counsel” aided

Mr. Salamon and Mr. Stern in their efforts, and fails to disclose its material and

irreconcilable conflicts to this Court.         Third, the collective actions of Mr. Salamon,

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    Supporting documentation is submitted with the accompanying Declaration of Isaac Lefkowitz
    (the “Lefkowitz Dec.”) and Suffern’s pending Emergency Motion to Approve Sale of Substantially All of
    Debtor’s Assets to Suffern, Nunc Pro Tunc, to Dismiss the Chapter 11 Case, and for Dismissal and/or
    Abstention as to All Claims in Debtor’s Proposed Adversary Proceeding Complaint (see Chapter 11 Case,
    ECF Nos. 86, 86-1, 86-2. the “Sale Approval Motion”). Capitalized terms not defined herein shall have
    the meanings ascribed in the Sale Approval Motion.


                                                   1
Mr. Stern, and the Levine Firm concern a dispute over Suffern’s equity that, regardless of its

merits, is in no way beneficial to Debtor or its creditors and (a) thus constitutes a gross

misuse of the Bankruptcy Court’s protections, processes, and resources, and (b) which the

Bankruptcy Court lacks subject matter jurisdiction to adjudicate.

       3.     The record of contemporaneous documentation and correspondence is

damning to Mr. Salamon, Mr. Stern, and the Levine Firm, and they should be estopped

from prosecuting allegations that are contrary to their prior representations and actions.

No reason is given why Debtor seeks to replace Pick & Zabicki LLP (“the Pick Firm”) as

counsel for Debtor or why the Pick Firm is not competent to bring the Adversary

Proceeding if it were meritorious. The inescapable conclusion is that Debtor – controlled by

Salamon et al. – seeks to replace the GWFG Firm as Debtor’s counsel because the Pick Firm

was unwilling to bring the Adversary Proceeding that lacks any merit.

       4.     For the reasons set forth below and in Suffern’s related Sale Approval

Motion, the Court should deny Debtor’s applications to retain the Levine Firm and

the GWFG Firm, approve Debtor’s sale of the Premises pursuant to Section 363 of the

Code nunc pro tunc, and dismiss the Adversary Proceeding with prejudice.

                               FACTUAL BACKGROUND

       5.     The facts and documentation related to Debtor’s purchase and sale of the

Premises in 2017 are detailed in Suffern’s Sale Approval Motion, which is incorporated by

reference. For the Court’s convenience, certain critical facts are recounted here again and

now buttressed by the contemporaneous email correspondence that Suffern’s new owner has

since obtained.




                                              2
A.     Debtor’s Purchase and Immediate Sale of the Premises, and the
       Subsequent Request for Dismissal of the Chapter 11 Case

       6.     Debtor commenced the Chapter 11 Case in February 2017 to protect its right

under a Sale Agreement with Novartis to purchase the Premises for $18 million. The

Chapter 11 Case, in the Court’s view, reflected “a binary dispute between Novartis and

Debtor” over whether Debtor would assume or reject the Sale Agreement. See Chapter 11

Case ECF No. 40, p. 14:2-3. Ultimately, following certain related state court litigation,

Debtor assumed the Sale Agreement and this Court authorized the assumption and directed

the parties to close on Debtor’s purchase of the Premises from Novartis. See Chapter 11

Case ECF Nos. 41-42, 45.

       7.     Debtor was unable to timely secure financing, and Novartis thus deemed

Debtor in default under the Sale Agreement and sought forfeiture of Debtor’s $2.5 million

down payment. See Sale Approval Motion, ¶ 10; Chapter 11 ECF Case No. 60-2; No. 86,

¶ 11. To avoid that forfeiture and also a loss of the additional benefits of purchasing the

Premises, Debtor implemented and closed on a series of transactions by which Suffern

agreed to finance Debtor’s purchase of the Premises and immediately acquire the property

for $30 million, reflecting an instant $12 million premium for the benefit of Debtor and its

creditors. See Sale Approval Motion, ¶¶ 11-16. The transactions ultimately closed in

September 2017, with Debtor then achieving the sole remedy it sought by the Chapter 11

Case: assumption of and performance under the Sale Agreement.           See Sale Approval

Motion, ¶¶ 16-17; Chapter 11 Case ECF No. 71. Indeed, Debtor’s sole managing member

and 100% equity interest holder – Yehuda Salamon – executed the very deed that

transferred the Premises from Debtor and ultimately was acquired by Suffern. See Sale

Approval Motion, ¶ 17.


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       8.     As a result of the transactions, $13,763,840.88 was distributed to Debtor’s real

estate attorney, permitting payment of all valid creditor claims. See id. Accordingly, Debtor

sought dismissal of the Chapter 11 Case on November 1, 2017. See Chapter 11 Case ECF

Nos. 67, 67-1. A dispute then emerged with Yehuda Salamon contesting certain equity

interests in the Premises, then-owned by Suffern. See, e.g., Lefkowitz Dec., Exs. 7-12.

Yehuda Salamon has since stalled Debtor’s request to dismiss the Chapter 11 Case, which

has remained in limbo for the last 18 months.

B.     The Levine Firm’s Retention Application

       9.     On March 29, 2019, Debtor – by the Levine Firm and the GWFG Firm –

filed the proposed Adversary Proceeding Complaint that seeks to unwind the transactions

that Debtor’s principals and counsel designed, structured, and implemented. In furtherance

of the allegations, Debtor’s principal purportedly terminated Debtor’s retention of the Pick

Firm and now requests approval to retain (a) the Levine Firm as “special litigation counsel”

and (b) the GWFG Firm as “substitute” bankruptcy counsel to replace the Pick Firm.

See Levine Application; GWFG Application.

       10.    The Levine Firm claims it had no involvement in the sale transactions that

Debtor now seeks to unwind, but contemporaneous documents and correspondence

confirm otherwise. See Levine Dec., ¶ 5. The Levine Firm was extensively involved in

structuring and implementing the sale transactions, having represented Debtor’s managing

member, Yehuda Salamon, and consultant Marty Stern (also known as “Martin Salamon”),

in connection with such transactions and the subsequent dispute over equity. As such, the

Levine Firm has material and non-waivable conflicts that prevent it from being able to serve




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as Debtor’s counsel. The following reflect only a sampling of the hundreds of emails the

Levine Firm wrote and received in conjunction with the matters now purportedly in dispute.

      •      In June 2017, before Debtor assumed the Sale Agreement, the Levine Firm
             developed a “specific game plan” with its clients Yehuda Salamon and Marty
             Stern for moving the Chapter 11 Case forward, and offered direction to the
             Pick Firm on Debtor’s assumption of the Sale Agreement and closing on
             purchase of the Premises. The Levine Firm’s plan included that “when
             Novartis closes we will likely withdraw the [bankruptcy] petition,” which is
             precisely what Debtor would ultimately request and is now sought to be
             challenged by the proposed Adversary Proceeding. See Lefkowitz Dec.,
             Ex. 2.

      •      In July 2017, the Levine Firm wrote to Novartis’ counsel – purportedly on
             Debtor’s behalf – in an effort to obtain documents “necessary to permit a
             closing (e.g. that will permit us to obtain an insurance policy, etc.).” The
             Levine Firm also represented to Novartis’ counsel that “[a]ll is in place for a
             closing, and the client is very eager to close.” The Levine Firm promised to
             provide “proof of funds,” and immediately reached out to Yehuda Salamon
             and Marty Stern for same. The Levine Firm was thus intimately involved in
             the sale transactions and representing Yehuda Salamon’s interests specifically.
             See id., Ex. 3.

      •      In August 2017, given Debtor’s inability to secure financing to close on the
             Premises, the Levine Firm sent to Debtor’s real estate counsel, Thomas
             Landrigan, Esq. – as well as Marty Stern, Heidi Sorvino (counsel to
             Bridgewater), Mark Yunger (a Bridgewater principal), and the Pick Firm – a
             proposed email to Novartis that if it refused to extend the closing date,
             “litigation counsel [i.e., the Levine Firm] will seek to amend the existing State
             Court complaint to assert claims for … specific performance [and] damages in
             excess of $12 million.” Mr. Landrigan copied the Levine Firm’s proposed
             email virtually word for word in sending it to Novartis. The Levine Firm’s
             “Team” are the very same people against whom liability is now sought by the
             proposed Adversary Proceeding. See id., Ex. 4.

      •      The next day, Novartis declared Debtor in default under the Sale Agreement
             (see Chapter 11 Case ECF No. 60-2). The Levine Firm sent another proposed
             email to the “Team” – Mr. Landrigan, Mr. Stern, Ms. Sorvino, Mr. Yunger,
             and the Pick Firm – suggesting they file a motion to compel Novartis to close
             on the Premises. Debtor filed such motion later that day. See id., Ex. 5;
             Chapter 11 Case ECF No. 58.

      •      In September 2017, immediately after Debtor closed on the Premises – i.e.,
             after Yehuda Salamon on Debtor’s behalf deeded the Premises to Old Mills
             Rd, which then deeded the Premises to Suffern to obtain Debtor’s $30 million


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    sale price – the Levine Firm directed the Pick Firm to “prepare a motion on
    notice to all creditors to withdraw” the bankruptcy petition. Debtor
    subsequently filed the motion (which, again, the Levine Firm now seeks to
    challenge as “special litigation counsel” to Debtor). See Lefkowitz Dec.,
    Ex. 6; Chapter 11 Case ECF Nos. 67, 67-1.

•   Throughout September to December 2017, the Levine Firm represented
    Yehuda Salamon and his consultant Marty Stern in an alleged “contractual”
    dispute concerning a purported right to 65% of Suffern’s equity, confirming
    that Yehuda Salamon knowingly and intentionally caused Debtor to transfer
    and sell the Premises. See, e.g., Lefkowitz Dec., Exs. 8-12. Yehuda Salamon,
    Marty Stern, and the Levine Firm thus unquestionably knew more than 18
    months ago – and tellingly did nothing – about the very transfers they now
    claim were “fraudulent,” “dubious,” and without consideration. See Levine
    Application, ¶¶ 2, 8-9.

•   Notwithstanding the dispute over Yehuda Salamon’s alleged equity interest,
    the parties continued to communicate as to wrapping up the Chapter 11 Case,
    and the Levine Firm, Yehuda Salamon, and Marty Stern were extensively
    involved in those communications. Yehuda Salamon even confirmed on
    October 11, 2017 that “[a]ll creditors and closing expenses were paid” except
    certain title-related fees (for which payment was being arranged).
    See Lefkowitz Dec., Ex. 7 (emphasis added).

•   On November 15, 2017, and despite Yehuda Salamon having confirmed that
    all creditors and other expenses had been paid, the Levine Firm claimed it
    was owed $65,000 from Debtor’s estate, and threatened that if it did “not
    receive the funds from [Mr. Landrigan’s] escrow account prior to the
    termination of the bankruptcy case, [the Levine Firm] will have to file a
    Notice of Claim and object to the dismissal.” See id., Ex. 11. The Levine
    Firm now claims in its retention application that it has “no prior connection
    with … the Debtor” and never sought payment from Debtor. See Levine
    Dec., ¶¶ 5, 24.

•   On December 4, 2017, the Levine Firm – on behalf of Yehuda Salamon and
    Marty Stern – threatened to cause Debtor to withdraw its motion for dismissal
    of the Chapter 11 Case unless Suffern capitulated to Yehuda Salamon’s
    demands for an equity interest in Suffern. See Lefkowitz Dec., Ex. 12.
    Such actions are directly contrary to the interests of Debtor’s estate.

•   In July 2018, the Levine Firm caused papers to be publicly that confirm
    Suffern is the “record owner” of the Premises, further to his representation of an
    entity called Lone Pine Associates LLC (“Lone Pine”), which nonetheless
    claimed it was the “beneficial owner” of the Premises. See id., ¶ 18, Ex. 13;
    Levine Dec., ¶ 23. The Levine Firm now proposes to prosecute claims




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               asserting that Debtor is the “record owner” and “beneficial owner” of the
               Premises.

       11.     These few representative emails, alone, demonstrate that the Levine Firm is

simply not being candid in its retention application or the proposed Adversary Proceeding

Complaint, which the Levine Firm drafted. See Levine Dec., ¶ 18. The Levine Firm’s

assertions that it is “disinterested in this matter,” “did not represent Debtor, or any other

entity, with respect to” Debtor’s closing on the Premises, did not represent “equity holders

of the Debtor in connection with this matter and has no prior connection with the Novartis

dispute,” and was only “peripherally involved in resolution negotiations” as to Yehuda

Salamon’s purported equity interest in Suffern are absolutely false and reflect material

misrepresentations to this Court. See id., ¶¶ 5, 10-12, 16-18.

       12.     In sum, the Levine Firm confirmed in prior writings and publicly-filed

documents that: (a) Debtor, by and through Yehuda Salamon, structured and effectuated

the transactions whereby the Premises were transferred and sold to Suffern; (b) all creditors

were paid from the sale proceeds; (c) the Chapter 11 Case is ripe for dismissal; and

(d) Suffern is the “record owner” of the Premises. Consequently, the Levine Firm cannot

now prosecute the proposed Adversary Proceeding Complaint that seeks to establish

allegations directly to the contrary.

C.     The GWFG Firm’s Retention Application

       13.     The   GWFG       Firm,   in   contrast,   does    not   appear   to   have   been

contemporaneously involved, nor to have taken positions contrary to Debtor’s proposed

Adversary Proceeding allegations or to have represented Yehuda Salamon and Marty Stern

in the alleged equity dispute. Nonetheless, the GWFG Firm does have an obligation to

investigate the legitimacy and viability of the proposed Adversary Proceeding that it now



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seeks to prosecute together with the Levine Firm. Given the documented record, the

GWFG Firm’s request to be appointed as “substitute” counsel for Debtor suggests that due

diligence was not sufficiently done before the GWFG Firm co-signed the proposed

Complaint drafted by the Levine Firm.

       14.    The Adversary Proceeding’s allegations are demonstrably false and cannot be

substantiated, and in the absence of any showing why the Pick Firm cannot continue to

represent Debtor for the limited purpose of finalizing any outstanding ministerial issues

arising from nunc pro tunc approval of the sale and closing of the Chapter 11 Case, there is no

basis for the GWFG Firm to be approved as “substitute bankruptcy counsel” for Debtor at

this juncture. The inescapable conclusion is that Debtor, controlled by Salamon et al., seeks

to replace the GWFG Firm as Debtor’s counsel because the Pick Firm was unwilling to

bring an Adversary Proceeding that lacks any merit.

D.     Suffern’s New Owner and the Sale Approval Motion

       15.    On March 25, 2019, Suffern’s membership interests were sold to an

arm’s-length buyer that had no contemporaneous involvement, connection, or knowledge

concerning the alleged disputes over the Premises and Yehuda Salamon’s subsequent claims

to an equity interest in Suffern. See Lefkowitz Dec., ¶ 3. Suffern’s new owner intended to

immediately refinance, improve, and lease the Premises to a qualified tenant, so as to

establish the Premises as an income-generating property. See id. Just four days later,

however, the proposed Adversary Proceeding was filed as of record and has since served to

cloud Suffern’s title to the Premises. See Lefkowitz Dec., ¶¶ 4-5, Ex. 1.

       16.    Suffern’s new owner has been unable to refinance or lease the Premises and is

being forced to incur $1 million per month to service debt and maintenance costs without




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any ability to ever recover those monies. See Lefkowitz Dec., ¶ 4. The financial burden

imposed on Suffern’s new owner is known to Yehuda Salamon, Marty Stern, and the

Levine Firm. Indeed, they caused the proposed Adversary Proceeding complaint to be filed

as of record only after Yehuda Salamon threatened Suffern’s new owner that if it failed to

pay Yehuda Salamon a ransom in the form of an equity interest in Suffern, then he would

frustrate Suffern’s ability to lease the Premises by manufacturing a cloud on title through

filing the baseless Adversary Proceeding Complaint. See id., ¶ 5. Suffern’s new owner

appropriately rejected Yehuda Salamon’s demand. See id.         Yehuda Salamon, Mr. Stern,

and the Levine Firm not only proceeded with filing the proposed Adversary Proceeding

Complaint before the retention applications were even approved, but also simultaneously

contacted Suffern’s lender to advise that there is an alleged cloud on title and triggering a

default on Suffern’s loan.    See id., ¶ 4, Ex. 1 (default letter advising the “Lender was

contacted by attorneys purporting to represent RS Old Mill, LLC”).

       17.    Yehuda Salamon and his consultant Marty Stern seek to misuse their control

of Debtor to serve Mr. Salamon’s personal interests. Indeed, as Suffern’s new owner has

recently learned, the Adversary Proceeding actually reflects a dispute over the equity

interests of Suffern, and not of Debtor. See Lefkowitz Dec., ¶ 6. Even if there is a legitimate

dispute concerning Suffern’s equity, this Bankruptcy Court and the Chapter 11 Case

concerning Debtor is not the appropriate forum. Suffern’s Sale Approval Motion obviates

any need for this Bankruptcy Court to address a third-party contract dispute among equity

interests of a non-debtor which in no way affects the Debtor or its creditors.




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                                       OBJECTIONS

I.     THE ADVERSARY PROCEEDING SHOULD BE DISMISSED, OBVIATING
       ANY NEED FOR CONSIDERATION OF THE RETENTION APPLICATIONS

       18.    Debtor’s proposed Adversary Proceeding seeks to avoid its sale of the

Premises to Suffern, a transaction that allowed Debtor to avoid forfeiture of its $2.5 million

deposit and generated $12 million in value for Debtor and its creditors. The linchpin of

Debtor’s proposed Adversary Proceeding is that Debtor itself failed to obtain this Court’s

approval for the sale, and it somehow was “fraudulently induced” into selling the Premises

by virtue a promise that Yehuda Salamon would obtain an equity interest in Suffern.

See Complaint, ¶¶ 48-50.     Thus, Debtor readily admits that the proposed Adversary

Proceeding reflects nothing more than a fight over equity interests that arose after Debtor

intentionally transferred and sold the Premises. This is further confirmed by Debtor having

waited some 18 months before filing the proposed Adversary Proceeding complaint.

       19.    The Bankruptcy Court’s protections, processes, and resources are not properly

used to further an equity holder’s personal interests, which is precisely what Yehuda

Salamon, his consultant Marty Stern, and the Levine Firm are now attempting. Indeed,

Debtor commenced the Chapter 11 Case solely to protect its rights under the Sale

Agreement and force Novartis to perform thereunder.          This “binary dispute” between

Novartis and Debtor was thus resolved in September 2017, when Debtor – through Suffern’s

financing – closed on the Premises. See Chapter 11 Case ECF Nos. 40, p. 14:2-3; 71.

       20.    Mr. Salamon, Mr. Stern, and the Levine Firm should not be allowed to

misuse the bankruptcy process to resolve a contractual dispute that concerns only equity

interests. To the contrary, given no trustee is appointed in the Chapter 11 Case, Yehuda

Salamon’s fiduciary obligations as sole managing member and 100% equity interest holder


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of Debtor run to the benefit of its creditors.      See 11 U.S.C. § 1107(a); Smart World

Technologies, LLC v. Juno Online Services Inc., 423 F.3d 166, 175 (2d Cir. 2005) (“As a

fiduciary, the debtor bears the burden of maximizing the value of the estate.”) (internal

quotation and citing reference omitted); In re Mushroom Transportation Co., 382 F.3d 325, 339

(3d Cir. 2004) (“The debtor-in-possession’s fiduciary duty to maximize includes the duty to

protect and conserve property in its possession for the benefit of creditors.”) (internal

quotation and citing reference omitted).

       21.    Yehuda Salamon’s efforts to now unwind the sale transactions that resulted in

maximization of Debtor’s estate runs counter to his duties of loyalty to the estate. See, e.g.,

In re Adelphia Communications Corp., 336 B.R. 669-70 (Bankr. S.D.N.Y. 2006) (stating that a

debtor-in-possession’s officers have duties that include “an obligation to refrain from self-

dealing, to avoid conflicts of interests and the appearance of impropriety, … and to

maximize the value of the estate”) (internal quotations and citing reference omitted).

       22.    In fact, all of Debtor’s valid creditors were paid as even Yehuda Salamon

expressly confirmed in writing. See Lefkowitz Dec., Ex. 7. Accordingly, Suffern has moved

this Court for nunc pro tunc approval of Debtor’s sale and transfer of the Premises, which will

foreclose Debtor’s purported claims in the proposed Adversary Proceeding and permit

dismissal of the Chapter 11 Case.          See Sale Approval Motion, ¶¶ 41-47.        Pending

consideration of the Sale Approval Motion, Debtor’s proposed Adversary Proceeding will

be rendered moot. See id. (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)

(a party invoking the jurisdiction of the federal courts must demonstrate, inter alia, an

“injury in fact – an invasion of a legally protected interest which is (a) concrete and




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particularized and (b) actual or imminent, not conjectural or hypothetical”)). For these

same reasons, Debtor’s applications to retain new counsel will also be rendered moot.

II.    EVEN IF THE SALE APPROVAL MOTION IS NOT GRANTED, THE
       LEVINE FIRM IS MATERIALLY CONFLICTED AND ITS RETENTION
       SHOULD NOT BE AUTHORIZED

       23.    Applications seeking approval to retain a professional “must be based upon

careful review and full disclosure by the prospective professionals, and … the

prospective professionals must be free of any personal interests or connections that are at

odds with the interests of the entities they intend to represent.” In re Mercury, 280 B.R. 35,

54 (Bankr. S.D.N.Y. 2002) (citation and quotations omitted). Indeed, attorneys hired by a

debtor-in-possession must be “disinterested persons” and cannot “hold or represent an

interest adverse to the estate.” 11 U.S.C. § 327(a); 11 U.S.C. § 327(e) (outlining same

standard for counsel retained for a “specified special purpose”).

       24.    Given the myriad interests and potential conflicts that can exist, courts have

“broad discretion to disqualify attorneys.” A.V. by Versace, Inc. v. Gianni Versace, S.P.A.,

160 F. Supp. 2d 657, 662-63 (S.D.N.Y. 2001) (citations and quotations omitted).

Bankruptcy Courts typically decline to approve retention applications in three distinct

scenarios: (1) where the Court’s confidence in the attorney is undermined by a conflict that

deprives the attorney of exercising independent judgment on the debtor’s behalf; (2) where

the attorney has access to privileged information that may present an unfair advantage; or

(3) where the attorney may be a material witness in the dispute. See, e.g., 11 U.S.C. § 327

(requiring professionals to be “disinterested persons,” and noting Court may deny retention

for other reasons including prior representation of a creditor, actual conflicts of interest, and

personal interests adverse to the debtor); Board of Educ. v. Nyquist, 590 F.2d 1241, 1246




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(2d Cir. 1979) (discussing bases to disqualify an attorney); Goodwine v. City of New York,

15-cv-2868, 2016 U.S. Dist. LEXIS 11149, at *12 (S.D.N.Y. Jan. 29, 2016) (recognizing

advocate-witness rule compels disqualification of counsel where “the lawyer’s testimony is

necessary and that there exists a substantial likelihood that the testimony would be

prejudicial to the witness-advocate’s client”) (citations and quotations omitted).2

        25.      The Levine Firm’s representation of Yehuda Salamon and his consultant

Marty Stern in connection with the alleged equity interest in Suffern – which includes the

levying of threats directly contrary to the interests of Debtor’s estate – compels denial of the

retention application.

        26.      First, the contemporaneous email correspondence makes clear that the Levine

Firm has not been forthright with this Court concerning the extent of its involvement in the

purportedly contested issues. The Levine Firm’s retention application therefore fails to meet

the basic standard of disclosure required for the Court to consider whether such firm is “free

of any personal interests or connections that are at odds with the [Debtor’s] interests.” In re

Mercury, 280 B.R. at 54 (citation and quotations omitted). The Levine Firm cannot exercise

“independent judgment” given it has previously represented Debtor’s managing member,

Yehuda Salamon, in connection with the very transaction that Mr. Salamon effectuated and

Debtor now seeks to challenge. See, e.g., Nyquist, 590 F.2d at 1246 n. 6 (recognizing that a

lawyer must be able to “exercise independent judgment on behalf of a client” and “should

avoid even the appearance of professional impropriety”).                         The proposed Adversary
2
    In deciding whether an attorney should be disqualified, the court may also consider the disciplinary rules
    of the American Bar Association and New York State. See Goodwine, 2016 U.S. Dist. LEXIS 11149,
    at *4. For example, New York Professional Conduct Rule 1.9 provides that a lawyer “who has formerly
    represented a client in a matter shall not thereafter represent another person in the same or a substantially
    related matter in which that person’s interests are materially adverse to the interest of the former client
    unless the former client gives informed consent in writing.” Rule 3.7 provides that a lawyer “shall not act
    as advocate before a tribunal in a matter in which the lawyer is likely to be a witness on a significant issue
    of fact.”


                                                       13
Proceeding Complaint does not seek to maximize Debtor’s estate for the benefit of its

creditors, but rather, to maximize Yehuda Salamon’s own personal interests.            As Mr.

Salamon’s personal counsel, the Levine Firm is conflicted in these matters.

       27.     Second, the Levine Firm previously represented Lone Pine, an entity that

claimed it – and not Debtor – owns the Premises. See Levine Dec., ¶ 23; Lefkowitz Dec.,

¶ 18, Ex. 13 n. 1. The Levine Firm’s prior representation of Lone Pine results in a direct

conflict that prevents it from now representing Debtor in a proposed Adversary Proceeding

by which Debtor claims to own the same Premises. See, e.g., In re AroChem Corp., 176 F.3d

at 623 (attorney’s representation of a “rival claimant” reflects a conflict) (citation omitted);

N.Y. R. Prof. Conduct 1.9 (lawyer may not represent a person in matters that are

“materially adverse to the interest of [a] former client”).

       28.     Third, the Levine Firm has previously threatened to file a creditor claim

against the estate for outstanding legal fees arising from its representation of Debtor

(notwithstanding that the Levine Firm’s retention application asserts that the firm has never

sought payment from Debtor). Compare Lefkowitz Dec., Ex. 11, with Levine Dec., ¶ 24.

Such conduct further requires denial of the Levine Firm’s retention application. See, e.g., In

re AroChem Corp., 176 F.3d at 623 (attorney has “interest adverse to the estate” if he

“possess[es] or assert[s] any economic interest that would tend to lessen the value of the

bankruptcy estate”).

       29.     Fourth, the Levine Firm’s principal, Michael Levine, Esq., will be a material

witness should this matter proceed to a contested hearing or trial.               Mr. Levine’s

contemporaneous email correspondence is “sufficiently adverse to the factual assertions or

account of events” that Debtor seeks to prove in the proposed Adversary Complaint, such



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that Debtor will need to discredit Mr. Levine’s testimony. See Goodwine, 2016 U.S. Dist.

LEXIS 11149, at *12 (citations and quotations omitted). Indeed, the Levine Firm’s own

contemporaneous email communications are diametrically opposed to the allegations in the

proposed Adversary Proceeding Complaint. See id; N.Y. R. Prof. Conduct 3.7 (lawyer

“shall not act as advocate before a tribunal in a matter in which the lawyer is likely to be a

witness on a significant issue of fact”).

       30.     Fifth, the contemporaneous documents and email correspondence also

confirm that Debtor, its managing member Yehuda Salamon, consultant Marty Stern, and

the Levine Firm know full well that Suffern’s title to the Premises did not result from a fraud

perpetrated upon the unwitting Debtor, but a legitimate, arm’s-length transaction in which

Debtor knowingly agreed to transfer and sell the Premises to enable full payment of all valid

creditor claims. See generally Sale Approval Motion. The Levine Firm and its clients –

Yehuda Salamon and Marty Stern – should be estopped from now seeking to establish

otherwise. See Official Comm. of Unsecured Creditors of Maxwell Newspapers v. Macmillan, Inc.

(In   re   Maxwell    Newspapers),    189   B.R.   282,    289    (Bankr.    S.D.N.Y.     1995)

(“Judicial estoppel prevents a party who benefits from the assertion of a certain position

from subsequently adopting a contrary one.”); see also Adelphia Recovery Trust v. Goldman

Sachs & Co., 748 F.3d 110, 113 (2d Cir. 2014) (affirming dismissal of fraudulent conveyance

claim as judicially estopped, given the conveyance was “consummated with the agreement”

of debtor); Young v. Department of Justice, 882 F.2d 633, 639 (2d Cir. 1989) (stating that

judicial estoppel “protect[s] judicial integrity by preventing litigants from playing ‘fast and

loose’ with courts, thereby avoiding unfair results”); In re Galerie Des Monnaies, Ltd., 62 B.R.

224, 225 (S.D.N.Y. 1986) (affirming dismissal of debtor’s attempt to void transfers under



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doctrine of judicial estoppel, given “debtor had previously told creditors … that it knew of

no such transfers” and delayed in bringing an adversary proceeding).

       31.    Lastly, that Yehuda Salamon subsequently claims to have an equity interest

in Suffern does not reflect a fraud, but rather, a third-party contract dispute between non-

debtor parties that in no way impacts the estate and over which the Bankruptcy Court

should decline subject matter jurisdiction. See, e.g., 28 U.S.C. § 1334 (providing that state

law causes of action need not be heard by the Bankruptcy Court); Grabis v. Navient Sols., LLC

(In re Grabis), No. 13-10669, 2018 Bankr. LEXIS 3664, at *4-5 (Bankr. S.D.N.Y. Nov. 20,

2018) (dismissing fraud claim for lack of subject matter jurisdiction as neither a “core” claim

arising under or arising in the Bankruptcy Code, nor a claim within the Court's “related-to”

jurisdiction because the resolution of such claim would have no impact on the debtor’s

estate); Selinger Enters., Inc. v. Cassuto, 50 A.D.3d 766, 768 (2d Dep’t 2008) (“[a] fraud claim

does not lie where the only fraud alleged arises from the breach of a contract”).

       32.     For the foregoing reasons, Debtor’s application for retention of the Levine

Firm should be denied.

III.   THE GWFG FIRM’S PROPOSED RETENTION
       IS UNSUPPORTED AND UNNECESSARY

       33.    This Court approved the Pick Firm as counsel to Debtor, and it appropriately

represented Debtor’s interests throughout the sale transactions that maximized Debtor’s

estate, enabled payment of all valid creditor claims, and permits dismissal of the Chapter 11

Case. Debtor fails to address why the Pick Firm is no longer capable of representing

Debtor’s interests, or why the GWFG Firm is needed as “substitute” counsel. It appears

that Debtor’s principal, Yehuda Salamon, has “terminated” retention of the Pick Firm

solely to perpetrate his alleged claim to Suffern’s equity as detailed above, as the Pick Firm


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has acknowledged it was and remains unwilling to prosecute allegations that it knows to be

unsustainable and demonstrably false. The GWFG Firm is tainted by Yehuda Salamon’s

misconduct and effort to misuse the Bankruptcy Court and his position of control over

Debtor to pursue his personal interests.

       34.    As the Chapter 11 Case should be dismissed, there is no reason for the Pick

Firm to be terminated or the GWFG Firm to be retained.

                                       CONCLUSION

       WHEREFORE, Suffern objects to Debtor’s proposed retention of the Levine Firm

and the GWFG Firm, and respectfully requests that the Court deny the applications and

grant Suffern any such further and greater relief as it deems just and proper.

Dated: New York, New York
       May 9, 2019
                                            HAHN & HESSEN LLP


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